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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

                                                 §
   PERDIEMCO, LLC,                               §
                                                 §
           Plaintiff,                            §
                                                 §
   v.                                            §    Case No. 2:15-cv-727-JRG-RSP
                                                 §
   INDUSTRACK LLC, et al.                        §
                                                 §
           Defendants.                           §
                                                 §
                                                 §
                                                 §
   PERDIEMCO, LLC,                               §
                                                 §
           Plaintiff,                            §
                                                 §
   v.                                            §    Case No. 2:15-cv-1216-JRG-RSP
                                                 §
   GPS LOGIC, LLC, et al.                        §
                                                 §
           Defendants.                           §
                                                 §
                                                 §

                              REPORT AND RECOMMENDATION

           Before the Court is a Motion for Judgment on the Pleadings that the Asserted Patents1

   Claim Ineligible Subject Matter under 35 U.S.C. § 101. Dkt. No. 62.2 Also before the Court is a

   Motion for Judgment on the Pleadings that the Claims of the Asserted Patents are Invalid under




   1
     The Asserted Patents in Case No. 2:15-cv-727 and Case No. 2:15-cv-1216 are the same. They
   are U.S. Patent Nos. 8,223,012; 8,493,207; 8,717,166; 9,003,499; and 9,071,931. These patents
   share a common specification.
   2
     Citations to the docket are to Case No. 2:15-cv-727 except where otherwise indicated. Citations
   to the docket use the page numbers assigned by the Court’s CM/ECF system.

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   35 U.S.C. § 112 ¶¶ 1 and 2.3 Dkt. No. 66. These motions were filed by Defendants Geotab Inc.,

   Teletrac, Inc. and Navman Wireless North America Ltd., and TV Management, Inc. d/b/a/ GPS

   North America, Inc.

           Defendant TV Management, Inc. d/b/a GPS North America filed Motions for Judgment

   on the Pleadings in Case No. 2:15-cv-1216 requesting the same relief and reciting substantially

   identical arguments and authorities. Dkt. Nos. 48, 49 in Case No. 2:15-cv-1216.

           The Court addresses these Motions (Dkt. Nos. 62, 66 in Case No. 2:15-cv-727; Dkt. Nos.

   48, 49 in Case No. 2:15-cv-1216) collectively in this Report and Recommendation.

   I. LAW

           A. Judgment on the Pleadings

           A motion for judgment on the pleadings under Rule 12(c) “is designed to dispose of cases

   where the material facts are not in dispute and a judgment on the merits can be rendered by

   looking to the substance of the pleadings and any judicially noticed facts.” Great Plains Trust

   Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 312 (5th Cir. 2002). “Rule 12(b)(6)

   decisions appropriately guide the application of Rule 12(c) because the standards for deciding

   motions under both rules are the same.” Id. at 313 n.8.

           A court must assume that all well-pleaded facts are true and view those facts in the light

   most favorable to the plaintiff. Bowlby v. City of Aberdeen, 681 F.3d 215, 218 (5th Cir. 2012).

   The court may consider “the complaint, any documents attached to the complaint, and any

   documents attached to the motion to dismiss that are central to the claim and referenced by the

   complaint.” Lone Star Fund V (U.S.) L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir.


   3
     Because the applications resulting in the Asserted Patents were filed before September 16,
   2012, the effective date of the America Invents Act (“AIA”), the Court refers to the pre-AIA
   version of § 112.



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   2010). The court must then decide whether those facts state a claim for relief that is plausible on

   its face. Bowlby, 681 F.3d at 217. “A claim has facial plausibility when the pleaded factual

   content allows the court to draw the reasonable inference that the defendant is liable for the

   misconduct alleged.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

          B. Subject Matter Eligibility

          Section 101 of the Patent Act defines what is eligible for patent protection: “Whoever

   invents or discovers any new and useful process, machine, manufacture, or composition of

   matter, or any new and useful improvement thereof, may obtain a patent therefor, subject to the

   conditions and requirements of this title.” 35 U.S.C. § 101.

          The Supreme Court has held that there are three specific exceptions to patent eligibility

   under § 101: laws of nature, natural phenomena, and abstract ideas. Bilski v. Kappos, 561 U.S.

   593, 601 (2010). In Mayo, the Supreme Court set out a two-step test for “distinguishing patents

   that claim laws of nature, natural phenomena, and abstract ideas from those that claim patent-

   eligible applications of those concepts.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347,

   2355 (2014) (citing Mayo Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1296–

   97 (2012)). Subject matter eligibility under § 101 serves as an important check on the scope of

   the patent monopoly by preventing a patentee from capturing a “building block[] of human

   ingenuity,” “a method of organizing human activity,” a “fundamental truth,” an “idea of itself,”

   “an original cause,” “an algorithm,” or a similar foundational concept. Alice, 134 S. Ct. at 2354–

   57 (“the concern that drives this exclusionary principle is one of pre-emption”). The doctrine of

   subject matter eligibility exists to prevent patent law from “inhibit[ing] further discovery by

   improperly tying up the future use of these building blocks of human ingenuity.” Id. at 2354. Yet

   “we tread carefully in construing this exclusionary principle lest it swallow all of patent law.” Id.




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          The first step of Mayo requires a court to determine if the claims are directed to a law of

   nature, natural phenomenon, or abstract idea. Alice, 134 S. Ct. at 2355. “If not, the claims pass

   muster under § 101.” Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 714 (Fed. Cir. 2014). In

   making this determination, the court looks at what the claims cover. Ultramercial, 772 F.3d at

   714 (“We first examine the claims because claims are the definition of what a patent is intended

   to cover.”); Intellectual Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1369 (Fed.

   Cir. 2015) (“At step one of the Alice framework, it is often useful to determine the breadth of the

   claims in order to determine whether the claims extend to cover a ‘fundamental … practice long

   prevalent in our system ….’”) (quoting Alice, 134 S. Ct. at 2356).

          “The abstract idea exception prevents patenting a result where ‘it matters not by what

   process or machinery the result is accomplished.’” McRO, Inc. v. Bandai Namco Games

   America, Inc., App. No. 2015-1080, slip op. at 19, 2016 U.S. App. LEXIS 16703 (Fed. Cir. Sept.

   13, 2016). For example, in Bilski, the Supreme Court rejected as a patent-ineligible “Claims 1

   and 4 in petitioners’ application” because the claims simply “explain[ed] the basic concept of

   hedging, or protecting against risk.” Bilski, 561 U.S. at 611; see also BASCOM Global Internet

   Servs. v. AT&T Mobility LLC, 2016 U.S. App. LEXIS 11687 at *26–27 (Fed. Cir. June 27, 2016)

   (“The claims in Intellectual Ventures I preempted all use of the claimed abstract idea on ‘the

   Internet, on a generic computer.’ The claims in Content Extraction preempted all use of the

   claimed abstract idea on well-known generic scanning devices and data processing technology.

   The claims in Ultramercial preempted all use of the claimed abstract idea on the Internet. And

   the claims in Accenture preempted all use of the claimed abstract idea on generic computer

   components performing conventional activities.”) (citations omitted). However, when

   performing this step, the Court “cannot simply ask whether the claims involve a patent-ineligible




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   concept, because essentially every routinely patent-eligible claim involving physical products

   and actions involves a law of nature and/or natural phenomenon—after all, they take place in the

   physical world.” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. May 12, 2016).

          A court applies the second step of Mayo only if it finds in the first step that the claims are

   directed to a law of nature, natural phenomenon, or abstract idea. Alice, 134 S. Ct. at 2355. The

   second step requires the court to determine if the elements of the claim individually, or as an

   ordered combination, “transform the nature of the claim” into a patent-eligible application. Alice,

   134 S. Ct. at 2355. In determining if the claim is transformed, “[t]he cases most directly on point

   are Diehr and Flook, two cases in which the [Supreme] Court reached opposite conclusions

   about the patent eligibility of processes that embodied the equivalent of natural laws.” Mayo

   Collaborative Servs. v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1298 (2012); see also Alice, 134

   S. Ct. at 2355 (“We have described step two of this analysis as a search for an ‘inventive

   concept.’”).

          In Diehr, the Court “found [that] the overall process [was] patent eligible because of the

   way the additional steps of the process integrated the equation into the process as a whole.”

   Mayo, 132 S. Ct. at 1298 (citing Diamond v. Diehr, 450 U.S. 175, 187 (1981)); see also Mayo,

   132 S. Ct. at 1299 (“It nowhere suggested that all these steps, or at least the combination of those

   steps, were in context obvious, already in use, or purely conventional.”). In Flook, the Court

   found that a process was patent-ineligible because the additional steps of the process amounted

   to nothing more than “insignificant post-solution activity.” Diehr, 450 U.S. at 191–92 (citing

   Parker v. Flook, 437 U.S. 584 (1978)).

          A claim may become patent-eligible when the “claimed process include[s] not only a law

   of nature but also several unconventional steps … that confine[] the claims to a particular, useful




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   application of the principle.” Mayo, 132 S. Ct. at 1300; see also DDR Holdings, LLC v.

   Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014) (“In particular, the ‘399 patent’s claims

   address the problem of retaining website visitors that, if adhering to the routine, conventional

   functioning of Internet hyperlink protocol, would be instantly transported away from a host’s

   website after ‘clicking’ on an advertisement and activating a hyperlink.”); BASCOM Global

   Internet Servs. v. AT&T Mobility LLC, 2016 U.S. App. LEXIS 11687 at *15 (Fed. Cir. June 27,

   2016) (“some inventions’ basic thrust might more easily be understood as directed to an abstract

   idea, but under step two of the Alice analysis, it might become clear that the specific

   improvements in the recited computer technology go beyond ‘well-understood, routine,

   conventional activit[ies]’ and render the invention patent-eligible”); but see Enfish, 822 F.3d at

   1335 (“We do not read Alice to broadly hold that all improvements in computer-related

   technology are inherently abstract and, therefore, must be considered at step two.”). A claim,

   however, remains patent-ineligible if it describes only “‘[p]ost-solution activity’ that is purely

   ‘conventional or obvious.’” Mayo, 132 S. Ct. at 1299.

          “The question of eligible subject matter must be determined on a claim-by-claim basis.”

   Ultramercial, Inc. v. Hulu, LLC, 722 F.3d 1335, 1340 (Fed. Cir. 2013) vacated on other grounds

   134 S. Ct. 2870 (2014).

          C. Written Description

          “The specification shall contain a written description of the invention, and of the manner

   and process of making and using it, in such full, clear, concise, and exact terms as to enable any

   person skilled in the art to which it pertains, or with which it is most nearly connected, to make

   and use the same.” 35 U.S.C. § 112(a). The Federal Circuit has consistently held that this statute

   sets forth two separate and distinct requirements, known as “enablement” and “written




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   description.” Ariad Pharms., Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010).

   Although distinct, the doctrines of written description and enablement are related and “often rise

   and fall together.” Id. at 1352. Both issues are routinely tried to a jury. See, e.g., Enzo Biochem,

   Inc. v. Applera Corp., 780 F.3d 1149, 1153 (Fed. Cir. 2015) (“The case then proceeded to a jury

   trial, where the jury found that the … patent was not invalid for lack of written description and

   enablement.”)

          “The test for the sufficiency of the written description ‘is whether the disclosure of the

   application relied upon reasonably conveys to those skilled in the art that the inventor had

   possession of the claimed subject matter as of the filing date.’” Vasudevan Software, Inc. v.

   MicroStrategy, Inc., 782 F.3d 671, 682 (Fed. Cir. 2015) (quoting Ariad, 598 F.3d at 1351).

   “[T]he test requires an objective inquiry into the four corners of the specification from the

   perspective of a person of ordinary skill in the art. Based on that inquiry, the specification must

   describe an invention understandable to that skilled artisan and show that the inventor actually

   invented the invention claimed.” Ariad, 598 F.3d at 1351. Whether a patent complies with the

   written description requirement is a question of fact. Id. “A party must prove invalidity for lack

   of written description by clear and convincing evidence.” Vasudevan Software, 782 F.3d at 682.

          D. The “Regards as His Invention” Validity Requirement of § 112(2)

          “A determination of whether a claim recites the subject matter which that applicant

   regards as his invention and is sufficiently definite, so as to satisfy the requirements of 35 U.S.C.

   § 112, paragraph 2, is a legal conclusion and is reviewed de novo.” Allen Eng’g Corp. v. Bartell

   Indus., 299 F.3d 1336, 1344 (Fed. Cir. 2002). “Where it would be apparent to one of skill in the

   art, based on the specification, that the invention set forth in a claim is not what the patentee

   regarded as his invention, we must hold that claim invalid under § 112, paragraph 2.” Id. at 1349




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   (finding claim invalid where specification required “parallel” but claim recited “perpendicular”).

   “[T]here must be a showing of a logical inconsistency or contradiction between the claims and

   the specification.” JuxtaComm-Texas Software, LLC v. Axway, Inc., Case No. 6:10-cv-11, Dkt.

   No. 1079 at 8, 2012 U.S. Dist. LEXIS 186559 at *16 (E.D. Tex. July 5, 2012).

   II. ANALYSIS

           A. Subject Matter Eligibility

           Defendants move for judgment on the pleadings under Fed. R. Civ. P. 12(c) that the

   asserted patents claim ineligible subject matter under 35 U.S.C. § 101.4 Defendants contend that

   all asserted claims of all asserted patents embody an abstract idea—“managing the dissemination

   of location and/or event information within a community.” Dkt. No. 62 at 10; see also Case No.

   2:15-cv-1216, Dkt. No. 48 at 8. “At most, they recite different ways of organizing people into

   groups and managing the dissemination of location/event information through use of

   conventional computer and GPS technology. But for the recitation of conventional computer and

   location tracking elements, all the Asserted Claims could be performed entirely by human

   activity.” Dkt. No. 62 at 10.

           Defendants begin their analysis with claim 6 of the ’012 Patent, arguing that

   “[r]epresentative claim 6 merely requires (1) interfacing with an administrator who (2) authorizes

   a first user to (3) access the location/zone/event information of a second user and (4) convey that

   information to a third user.” Dkt. No. 62 at 17. Defendants provide a highlighted copy of the

   claim in which “[t]erms that recite only generic computing or location tracking technology and
   4
     Rule 12(d) provides that “[i]f, on a motion under Rule 12(b)(6) or 12(c), matters outside the
   pleadings are presented to and not excluded by the court, the motion must be treated as one for
   summary judgment under Rule 56.” Fed. R. Civ. P. 12(d). Defendants cite matters outside the
   pleadings that pertain to the nature of PerDiem and its business. Dkt. No. 62 at 8; Dkt. No. 48 at
   7 in Case No. 2:15-cv-1216. Because the cited materials are extrinsic to the pleadings and
   irrelevant to the § 101 inquiry, the Court will exclude these materials.



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   ‘codes’ to facilitate a computerized implementation of the claimed method have not been

   highlighted.” Id. at 18.

          That claim is reproduced here with Defendants’ highlighting:




   Dkt. No. 62 at 17–18; see also Case No. 2:15-cv-1216, Dkt. No. 48 at 16 (underlining instead of

   highlighting).

          Having purportedly factored out all the conventional computer components, Defendants

   construct an analogy between the remaining, highlighted portion of claim 6 and a scenario in

   which “[e]ach highlighted step of claim 6 could easily be performed by humans without the need

   for any computer or location tracking technology.” Dkt. No. 62 at 18.

          [C]onsider an exemplary scenario similar to one contemplated in Perdiem’s
          common specification of a mother desiring to track the location of her daughter
          who is travelling on a class field trip from Florida to Washington D.C. In this
          scenario, the mother (administrator) may authorize a chaperone (first user) that
          has travelled with the daughter’s (second user) class to supervise and track her
          daughter as well as have access to and convey the daughter’s location (access
          object location information associated with the second user). When the class
          arrives at their hotel in Washington (associating the second user with a zone


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        and/or event), the chaperone is authorized to notify the mother and father (third
        user) that they have safely arrived at their destination (conveying location, zone
        and/or event information to a third user).

 Dkt. No. 62 at 18–19. This example apparently confirms that claim 6 is directed to no more than

 the abstract idea of “managing the dissemination of location and/or event information within a

 community” and is therefore patent ineligible.

        There are a number of fatal problems with Defendants’ analysis of claim 6. First, it is

 improper to “simply ask whether the claims involve a patent-ineligible concept.” Enfish, 822

 F.3d at 1335. To be sure, “mere recitation of a generic computer cannot transform a patent-

 ineligible abstract idea into a patent-eligible invention.” Alice, 134 S. Ct. at 2358. But this is not

 a license to delete all computer-related limitations from a claim and thereby declare it abstract.

 See McRO, slip op. at 20 (“in determining the patentability of a method, a court must look to the

 claims as an ordered combination, without ignoring the requirements of the individual steps”).

 The presence of computer components in a claim can often be consequential to the outcome of

 the § 101 analysis—in some circumstances the computer-related limitations of the claim will

 dispositively render the claim patent-eligible. See, e.g., DDR Holdings, LLC v. Hotels.com, L.P.,

 773 F.3d 1245, 1257 (Fed. Cir. 2014) (“the claimed solution is necessarily rooted in computer

 technology in order to overcome a problem specifically arising in the realm of computer

 networks”). Moreover, the mere fact that all the recited computer components are “conventional”

 because the applicant did not invent an entirely new kind of computer is not inherently troubling.

 See, e.g., Enfish, 822 F.3d at 1338 (“we are not persuaded that the invention’s ability to run on a

 general-purpose computer dooms the claims”); KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418–

 19 (2007) (“[I]nventions in most, if not all, instances rely upon building blocks long since




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 uncovered, and claimed discoveries almost of necessity will be combinations of what, in some

 sense, is already known.”).

        Instead, the analysis turns on “whether the claims in these patents focus on a specific

 means or method that improves the relevant technology or are instead directed to a result or

 effect that itself is the abstract idea and merely invoke generic processes and machinery.” McRO,

 slip op. at 23. This analysis requires the movant to substantively engage with the role played by

 the computer limitations in the context of the claim, not ignore those limitations. Here, claim 6

 requires a variety of computer-related components, including: “user identification code[s],” “a

 location information source,” and “an information access code.” The claim then recites a specific

 structure of rules for providing information about the locations of objects to users and for

 managing user access to this information. It is therefore not apparent that claim 6 recites

 “‘nothing significantly more’ than an instruction to apply [an] abstract idea . . . using some

 unspecified, generic computer.” Alice, 134 S. Ct. at 2360. Instead, claim 6 defines a set of rules

 for organizing and improving the behavior of a computerized location information system. Here,

 as in McRO, “[t]he specific structure of the claimed rules would prevent broad preemption of all

 rules-based means” for achieving the desired result. McRO, slip op. at 22.

        The second problem with Defendants’ argument is the premise that analogizing the

 method of claim 6 to a class field trip “confirms that claim 6 is directed to an abstract idea.” Dkt.

 No. 62 at 19; see also Case No. 2:15-cv-1216, Dkt. No. 48 at 17. Even assuming arguendo that

 the field trip analogy falls squarely within the scope of claim 6, this fact is not necessarily

 dispositive—“processes that automate tasks that humans are capable of performing are patent

 eligible if properly claimed.” McRO, slip op. at 22. More importantly, the field trip analogy

 omits or glosses over many limitations of the claim, including the aforementioned “location




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 information source” and access codes. As discussed supra, these limitations are not

 afterthoughts. Managing the information provided by the location information source using a set

 of relationships defined in part by access codes is what the claim is all about. The analogy also

 fails to capture another key feature of the claim: centralization. In the field trip analogy a variety

 of independent actors (mother, father, chaperone) must coordinate with one another and no

 single actor performs all the claimed steps. It is also not clear that any actor in the analogy

 performs the “interfacing” and “conveying” steps. These deficiencies in the analogy help to

 illustrate why claim 6 is not merely a computerized version of conventional human activity, it is

 an improvement to a computer system that administers, manages, and conveys location

 information in a centralized way.

        A final problem with Defendants’ position is a failure to meaningfully address

 preemption, which is the fundamental concern at stage one of the Mayo analysis. See Mayo, 132

 S. Ct. at 1301 (§ 101 embodies “a concern that patent law not inhibit further discovery by

 improperly tying up the future use of laws of nature . . . [or] the basic tools of scientific and

 technological work”); see also McRO, slip op. at 25 (“The concern underlying the exceptions to

 § 101 is not tangibility, but preemption.”). Defendants do not show that claim 6 preempts the

 idea of “managing the dissemination of location and/or event information within a community”

 such that “it matters not by what process or machinery the result is accomplished.” See O’Reilly

 v. Morse, 56 U.S. 62, 113 (U.S. 1854); see McRO, slip op. at 19 (quoting same). Instead, claim 6

 recites a specialized procedure for accomplishing this result by using four different access codes,

 an administrator, users, location information, zones, and a variety of other features all working

 together in a particular fashion. Defendants cannot argue that there is a danger of claim 6 “tying

 up the future use” of the concept of location information management and dissemination. There




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 are other ways to accomplish this result without following the strictures of the claim (e.g. by

 following Defendants’ chaperone protocol, which omits many claim limitations).

        Accordingly, like the claims in Enfish and McRO, the Court finds that claim 6 of the ’012

 Patent is not directed to an abstract idea and therefore survives step one of the Mayo eligibility

 analysis. See McRO, slip op. at 27 (“By incorporating the specific features of the rules as

 claim limitations, claim 1 . . . does not preempt approaches that use rules of a different

 structure or different techniques.”); Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed.

 Cir. 2016) (“we are not faced with a situation where general-purpose computer components are

 added post-hoc to a fundamental economic practice or mathematical equation”).

        Defendants contends that “[a] similar analysis and conclusion is applicable to all Asserted

 Claims of the ’012 patent. While there are slight differences in the steps recited in the various

 claims, all are directed to the same abstract idea.” Dkt. No. 62 at 19; see also Case No. 2:15-cv-

 1216, Dkt. No. 48 at 8. Defendants attach copies of the other claims in appendices to their

 motions. This is as detailed as the representative claim analysis gets for any of the asserted

 patents—a bare recital that all asserted claims are basically the same.

        To the extent Defendants’ characterization of the claims is accurate, the other asserted

 claims of the ’012 Patent are patent-eligible for the same reasons as claim 6. Moreover, the Court

 finds that Defendants have not met their burden to identify a representative claim. When the

 movant relies on a representative claim in its § 101 analysis, it bears the burden of showing that

 the other asserted claims are “substantially similar and linked to the same abstract idea.” See

 Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1348 (Fed.

 Cir. 2014); see also Wright & Miller, Federal Practice and Procedure: Civil 3d § 1357 (2004)

 (“All federal courts are in agreement that the burden is on the moving party [under Rules




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 12(b)(6) and 12(c)] to prove that no legally cognizable claim for relief exists.”). District courts

 have denied motions to dismiss where the movant failed to carry this burden. See JSDQ Mesh

 Techs. LLC v. Fluidmesh Networks, LLC, Case No. 16-cv-212-GMS, 2016 U.S. Dist. LEXIS

 119811 at *7 (D. Del. Sept. 6, 2016) (“Fluidmesh fails to provide meaningful analysis for each of

 the challenged patent claims at issue”). Accordingly, the Court finds that Defendants have not

 shown the other claims of the ’012 Patent are patent-ineligible.

        Defendants’ arguments about claim 6 on the ’012 Patent are representative of

 Defendants’ arguments about the other asserted patents. For every asserted patent, Defendants

 strip away all limitations related to computers as mere “conventional concepts” or “conventional

 computer and location tracking elements” without addressing the role played by those elements

 in the context of the claim as an ordered combination. Dkt. No. 62 at 20, 21–22, 23–24, 25–26;

 see also Case No. 2:15-cv-1216, Dkt. No. 48 at 18, 19–20, 22–23, 24–25. For every asserted

 patent, Defendants propose a scenario of a class field trip illustrating how children, parents,

 chaperones, and school employees participating in a class field trip could approximate the

 behavior described in each exemplary claim. However, as discussed above, the proposed

 scenarios fail by assuming that each and every computer-related limitation can be properly

 excluded from the claims and by crafting a scenario that involves the decentralized actions of

 multiple participants, unlike the claims. Likewise, Defendants’ identification of a representative

 claim is equally conclusory for every asserted patent.

        Accordingly, Defendants have not shown that the asserted claims are patent-ineligible.

        B. Written Description

        Defendants move for judgment on the pleadings that the asserted patents are invalid

 under § 112(1) for failure to provide adequate written description. Dkt. No. 66 at 19–29; see also




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 Case No. 2:15-cv-1216, Dkt. No. 49 at 19–29. Defendants contend that “[t]he common

 specification and prosecution history of the Asserted Patents unequivocally establish that the

 inventor required user defined zones and user defined events to be essential to his purported

 invention. . . . Because each of the Asserted Claims does not include both a user defined zone

 and user defined event, and are thus broader than the specification disclosure, the Asserted

 Claims are invalid for failing to comply with the written description requirement.” Dkt. No. 66 at

 19.

        Defendants acknowledge that “[c]ompliance with the written description requirement of

 35 U.S.C. § 112 ¶ 1 is a question of fact.” Dkt. No. 66 at 17. This fact question is routinely

 submitted to a jury and is often the subject of expert testimony. Experts can be especially

 important to the written description question because the test for sufficiency of the written

 description is “whether the disclosure of the application relied upon reasonably conveys to those

 skilled in the art that the inventor had possession of the claimed subject matter as of the filing

 date.’” Vasudevan Software, 782 F.3d at 682 (emphasis added). In Vasudevan, the Federal

 Circuit reversed a district court’s summary judgment of invalidity for failure to meet the written

 description requirement because the district court had not credited the uncontroverted testimony

 of the non-movant’s expert witness. Id. at 1356. The Federal Circuit held that “[a]s a general

 rule, summary judgment [on the written description defense] is inappropriate where an expert’s

 testimony supports the non-moving party’s case.” Id. at 1356–57.

        In the context of a 12(c) motion, the Court may not consider expert testimony or any

 other evidence outside the pleadings. Fed. R. Civ. P. 12(d). Instead, the Court must draw all

 reasonable factual inferences in favor of the non-movant. For this reason, the Court cannot

 conclude that Defendants have established their written description defense by clear and




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 convincing evidence. Even if the claims do not recite every “essential” technological feature

 discussed in the specification, this does not render them invalid as a matter of law. See Cooper

 Cameron Corp. v. Kvaerner Oilfield Prods., 291 F.3d 1317, 1323 (Fed. Cir. 2002) (“we did not

 announce a new ‘essential element’ test mandating an inquiry into what an inventor considers to

 be essential to his invention and requiring that the claims incorporate those elements.”). A

 motion for judgment on the pleadings under Rule 12(c) “is designed to dispose of cases where

 the material facts are not in dispute.” Great Plains Trust, 313 F.3d at 312. Judgment on the

 pleadings is, therefore, not the proper way to resolve this fact-intensive defense.

        C. “Regards as His Invention”

        Defendants contend that the asserted patents are invalid under § 112(2) for failing to

 claim “what the patentee regarded as his invention.” Dkt. No. 66 at 29; see also Case No. 2:15-

 cv-1216, Dkt. No. 49 at 29. This argument is based on the same premise as Defendants’ § 112(1)

 defense, that “the inventor of the Asserted Patents unequivocally regarded user defined zones

 and user defined events as required features of his purported invention.” Id.

        Unlike written description, validity under § 112(2) is a question of law. Allen Eng’g, 299

 F.3d 1344. However, the party asserting this defense must make “a showing of a logical

 inconsistency or contradiction between the claims and the specification.” JuxtaComm-Texas

 Software, Case No. 6:10-cv-11, Dkt. No. 1079 at 8. The fact that the asserted claims do not

 encompass every feature, or even every important feature, disclosed in the specification does not

 imply a logical contradiction. See Allen Eng’g, 299 F.3d 1349 (claims invalidated because

 “parallel” and “perpendicular” have opposite meanings). Defendants cite no authority for the

 proposition that every feature disclosed in the specification must be claimed, and indeed the

 converse appears to be true. Cf. TIP Sys., LLC v. Phillips & Brooks/Gladwin, Inc., 529 F.3d




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 1364, 1373 (Fed. Cir. 2008) (“[T]he claims of the patent need not encompass all disclosed

 embodiments. . . . Our precedent is replete with examples of subject matter that is included in the

 specification, but is not claimed.”) (collecting cases). The Court finds no logical contradiction

 between the asserted claims and the common specification.

 III. CONCLUSION

        In light of the foregoing, the Court RECOMMENDS that Defendants’ Motions for

 Judgment on the Pleadings (Dkt. Nos. 62, 66 in Case No. 2:15-cv-727; Dkt. Nos. 48, 49 in Case
 .
 No. 2:15-cv-1216) be DENIED.

        A party’s failure to file written objections to the findings, conclusions, and

 recommendations contained in this report by September 28, 2016 after being served with a copy

 shall bar that party from de novo review by the district judge of those findings, conclusions, and

 recommendations and, except on grounds of plain error, from appellate review of unobjected-to

 factual findings and legal conclusions accepted and adopted by the district court.

 Fed. R. Civ. P. 72(b)(2); see Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415, 1430 (5th Cir.

 1996) (en banc).
         SIGNED this 3rd day of January, 2012.
         SIGNED this 21st day of September, 2016.




                                                        ____________________________________
                                                        ROY S. PAYNE
                                                        UNITED STATES MAGISTRATE JUDGE




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